Case 1:17-CV-OO415-BLW Document 14

Brian K. Julian - ISB No. 2360
Andrea J. Fontaine - ISB NO. 7175
ANDERSON, JULIAN & HULL LLP
C. W. Moore Plaza
250 South Fifth Street, Suite 700
Post Offlce Box 7426
Boise, Idaho 83707-7426
Telephone: (208) 344-5800
Facsimile: (208) 344-5510
E-Mail: bjulian@ajhlaw.com

aj fontaine@ajhlaw.corn

Attorneys for Defendants John Anchustegui
and Jane Anchustegui

Filed 11/15/17 Page 1 of 19

UNITED STATES DISTRICT COURT
IN AND FOR THE DISTRICT OF IDAHO

SABINO LEIBAR,
Plaintiff,
vs.

JOHN ANCHUSTEGUI, JANE
ANCHUSTEGUI, ANCHUSTEGUI SHEEP
COMPANY, JA PROPERTIES, LLC, JA
PROPERTIES BOISE, LLC, JA MOTORS,
LLC, JA LAND & LIVESTOCK, LLC, and JA
CATTLE COMPANY, LLC,

Defendants.

 

 

Case No. 1 :17-CV-00415-REB

DEFENDANTS’ ANSWER

TO PLAINTIFF’S COMPLAINT,
COUNTERCLAIM AND
DEMAND FOR JURY TRIAL

COME NOW Defendants John Anchustegui and Jane Anchustegui, by and through their

counsel of reeord, Anderson, Juhan & Hull, LLP, and by Way of answer to Plaintiff’ s Complaint,

admit, deny and aver as follows:

DEFENDANTS’ ANSWER 1170 PLAINTIFF’S C()M~PLAINT, COUNTERCLAIM AND

DEMAND FOR JURY TRIAL - 1

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 2 of 19

FIRST DEFENSE
The Complaint and each and every count contained therein fails to set forth a claim
against Defendants upon Which relief can be granted.
SECOND DEFENSE
Defendants deny each and every allegation of the Complaint not specifically admitted
herein.
I. INTRODUCTION

l. Paragraph 1 of the Complaint is an introductory paragraph and contains
conclusions of law. To the extent Paragraph 1 alleges factual allegations against Defendants,
Defendants deny the same.

2. Defendants deny Paragraph 2 and specifically deny that Defendants had an
employment contract with Plaintiff, that Defendants were unjustly enriched or that John
Anchustegui intentionally inflicted emotional distress. Defendants further aver that John
Anchustegui provided a salary, room and board, transportation, a private garden and a full-time
cook for Plaintiff, even after Plaintiff ceased working as a sheepherder.

3. Regarding Paragraph 3, Defendants admit Plaintiff Was a farmworker who
Worked for John Anchustegui from 1981 until May 2009 as a sheepherder and ranch hand in
Idaho but deny that Plaintiff worked as a sheepherder after he began receiving Social Security
benefits in 2009. Defendants deny Plaintiff worked solely as a ranch hand for at least the last ten
years of his employment and further aver that as of 2009, Plaintiff was semi-retired and Worked
intermittently as an independent contractor for John Anchustegui as a ranch hand. Defendants
admit that Plaintiff stopped working for John Anchustegui in May 2017 but deny Plaintiff was
not paid wages since 2009, was not allowed access to medical care and was not provided with

DEFE-NDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT, COUNTERCL.AiLM AND
DEMAND FOR JURY TRIAL - 2

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 3 of 19

enough food. Defendants deny Defendants prohibited Plaintiff from obtaining a driver’s license
or that he was in any Way prevented from being able to freely leave the ranch during the 36
years he remained at the ranch. Defendants further aver that Defendants are in no way
associated with the Division of Motor Vehicles of the Idaho Transportation Department and in
no way could have prevented Plaintiff from obtaining a driver’s license.

4. Defendants deny Paragraph 4 and further aver that Plaintiff was timely paid a
salary and received compensation in the form of continuous room and board for over 36 years,
in addition to transportation and a full-time cook.

5. Defendants deny Paragraph 5 and further aver that Plaintiff has attempted to
assert claims beyond the lawful statute of limitations

II. JURISDICTION AND VENUE

6. Defendants admit only that Plaintiff asserts jurisdiction under federal question
jurisdiction, the FLSA and AWPA but deny Plaintiff has stated a claim under any federal law.

7. Defendants admit only that Paragraph 7 is a request for supplemental jurisdiction
over state law claims, but deny any Plaintiff has stated a claim under state law.

8. Regarding Paragraph 8, Defendants admit only that they are domiciled in the
District of ldaho but deny Defendants’ involvement in wrongful conduct in ldaho.

9. Defendants admit only that Plaintiff s allegations arise in ldaho but deny any
allegations concerning Defendant corporations as those allegations are directed to entities other
than these answering Defendants

III. PARTIES

10. Defendants admit Plaintiff Worked for John Anchustegiii from approximately

1981 to May 2, 2017, and that he is a lawful permanent resident in the United States.

.DEFENDANTS’ ANSWER TO PLAINTIFF’S CGMPLAINT, COUNTEB.CLAIM AND
DEMAND FOR JURY TRlAL - 3

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 4 of 19

Defendants are without information or knowledge sufficient to form a belief as to the remaining
allegations and therefore deny the same.

ll. Defendants admit Paragraph 11.

12. Defendants admit Paragraph 12.

13. Defendants admit Paragraph 13 but deny Anchustegui Sheep Company is a proper
party to this action.

14. Defendants deny Paragraph 14 as the allegations contained therein are directed to
entities other than these answering Defendants

15 . Defendants deny Paragraph 15 as the allegations contained therein are directed to
entities other than these answering Defendants.

16. Defendants deny Paragraph 16 as the allegations contained therein are directed to
entities other than these answering Defendants.

17. Defendants deny Paragraph 17 as the allegations contained therein are directed to
entities other than these answering Defendants.

18. Defendants deny Paragraph 18 as the allegations contained therein are directed to
entities other than these answering Defendants.

IV. STATEMENT OF FACTS

19. Defendants deny Paragraph 19 and further aver that Plaintiff is a lawful
permanent resident of the United States, as asserted by Plaintiff in Paragraph 10.

20. Defendants deny Plaintiff was required to be absent overnight from his permanent
place of residence but admit he lived in housing or accommodation’s provided by Defendants

continuously for 36 years

DEF-ENDANTS’ ANSWER.TO PLAINTIFF’S COMPLAINT, COUNTERCL~AIM AND
DEMAND FOR JURY TRIAL - 4

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 5 of 19

21. Defendants deny Plaintiff was employed in a seasonal or other temporary nature
but admit that Plaintiff did assist other workers in lambing. Defendants deny Plaintiff worked
from one seasonable activity to another, except for lambing, which occurs approximately three
months out of the year. Defendants deny Plaintiff tended to a “ranch garden” or irrigated it and
further aver that Plaintiff, to the extent he worked, tended to his own, personal garden on five
acres of land that was gifted to him by Defendants and for which he was provided irrigation
water by Defendants and that Plaintiff used the proceeds from his garden for his own personal
gain.

22. Defendants deny Paragraph 22 as the allegations contained therein are directed to
entities other than these answering Defendants

23. Defendants deny Paragraph 23.

24. Defendants deny that lane Anchustegui has been doing business under any
assumed name in ldaho. Defendants admit that John Anchustegui has operated under the name
of Anchustegui Sheep Company but denies said entity is a proper party to this action.
Defendants admit that John Anchustegui has obtained clearance orders and visas under the H-
2A provisions of the Immigration and Nationality Act but deny that Plaintiff is subject to such
provisions

25. Defendants deny Paragraph 25 as the allegations contained therein are directed to
entities other than these answering Defendants.

26. Defendants deny Paragraph 26 as the allegations contained therein are directed to
entities other than these answering Defendants

27. Defendants deny Paragraph 27 as the allegations contained therein are directed to
entities other than these answering Defendants.

DEFENDANTS’ ANSWER TO PLAf-NTIFF’S COMPLAINI, COUNTERCLAIM AND
DEMAND FOR JURY TRIAL - 5

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 6 of 19

28. Defendants deny Paragraph 28 as the allegations contained therein are directed to
entities other than these answering Defendants

29. Defendants deny Paragraph 29 as the allegations contained therein are directed to
entities other than these answering Defendants

30. Regarding Paragraph 30, Defendants admit only that Plaintiff`s allegations
concerning Defendants John and Jane Anchustegui concern all times relevant to the Complaint
but deny the remaining allegations contained therein as those allegations are directed to entities
other than these answering Defendants

31. Defendants deny Paragraph 31.

32. Defendants deny Paragraph 32.

33. Defendants deny Paragraph 33.

34. Defendants admit Paragraph 34.

35. Defendants admit Paragraph 35 but further aver that the terms of Plaintiff s
employment changed to semi~retired status as of 2009.

36. Regarding Paragraph 36, Defendants admit only that Defendants paid Plaintiff his
wages they owed at the time they were due and never stopped paying Plaintiff’s wages
Defendants further aver that Plaintiff received compensation in the form of continuous room
and board, a private garden and a full-time cook. Defendants deny the remaining allegations

37. Regarding Paragraph 37, Defendants admit only that Defendants paid Plaintiff his
wages for the year 2008 and every year subsequent Defendants deny the remaining allegations

38. Defendants deny Paragraph 38.

39. Regarding Paragraph 39, Defendants admit only that Defendants paid Plaintiff all
monies owed to Plaintiff as an independent contractor in addition to significant monetary gifts

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT, CQUNTERCLAIM AND.
DEMAND FOR JURY TRIAL - 6

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 7 of 19

and deny the remaining allegations Defendants further aver that Plaintiff s allegations in
Paragraph 39 directly contradict his earlier claims

40. Defendants deny Paragraph 40 and further aver that Plaintiff worked nowhere
near twelve hours a day, seven days a week for nine years and that often times Plaintiff
“worked” only on his private garden and did not work for Defendants at all.

41. Defendants deny Paragraph 41.

42. Defendants deny Paragraph 42 and specifically deny that there existed a contract
between Plaintiff and Defendants

43. Defendants deny Paragraph 43.

44. Defendants deny Paragraph 44.

45. Defendants deny Paragraph 45 and further aver that Defendants are exempt from
minimum wage requirements

46. Defendants deny Paragraph 46 and further aver that Defendants are exempt from
minimum wage requirements

47. Defendants deny Paragraph 47 and specifically deny Defendants are subject to
FLSA minimum wage requirements

48. Defendants deny Paragraph 48.

49. Defendants deny Paragraph 49.

50. Defendants deny Paragraph 50.

51. Defendants deny Paragraph 51.

52. Defendants deny Paragraph 52 and further aver that the reason Plaintiff currently

receives .Social Security benefits is because John Anchustegui assisted in obtaining said benefits

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAH\IT, COUNTERCLAIl\../I.AND
DEMAND FC)R JURY TRIAL - 7

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 8 of 19

for Plaintiff and but for the actions of John Anchustegui, Defendant would not currently receive
Social Security benefits

53. Defendants deny Paragraph 53 and further aver that Plaintiff has received Social
Security since 2009, despite the facts he claims to have worked full-time since 2009.

54. Defendants deny Paragraph 54.

55. Defendants deny Paragraph 55.

56. Defendants deny Paragraph 56. Defendants further aver that Plaintiff had full
access to medical care, was provided more than adequate food prepared by a full-time cook, was
provided his own 5 acre plot of land to grow food, which he consumed and sold, was provided
free room and board despite the fact that Plaintiff ceased working except on a very occasional
basis, that John Anchustegui personally transported Plaintiff anywhere he needed to go when he
needed to go and that Plaintiff was free to leave the ranch at any time, as demonstrated by the
fact that he did, in fact, leave in May of 201 7.

57. Defendants lack knowledge or information sufficient to form a belief as to
Plaintiffs’ specific medical conditions and therefore deny the same. Defendants deny the
remaining allegations and further aver that John Anchustegui was on-call to take Plaintiff to
receive medical care at any time.

58. Defendants deny Paragraph 58 and further aver that employees received adequate
food on a weekly basis and that employees were provided a phone to order additional food
whenever they requested it.

59. Defendants deny Paragraph 59 and further aver that Plaintiff was free to leave the

ranch if he desired, that he did.-._leave numerous times, that he was free to arrange for

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT, COUNTERCLAIM AND ~
DEMAND FOR JURY TRIAL - 8

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 9 of 19

transportation and that he did not seek or need John Anchustegui’s permission to obtain a
driver’s license or to purchase a vehicle.

60. Defendants deny Paragraph 60 and further aver that not only did John
Anchustegui provide Plaintiff transportation for his various needs, but that three other
employees provided Plaintiff transportation Defendants admit that Plaintiff was able to
purchase rides from other individuals not working on the ranch and further aver that John
Anchustegui paid for such transportation

61. Defendants adamantly deny Paragraph 61 and further aver that Defendants treated
all their employees with the utmost respect and care, providing comfortable room and board, a
full-time cook and any other items or services requested by the employees Defendants further
aver that they have never before the filing of Plaintiff’s Complaint been accused of providing
inadequate care by any employee, including Plaintiff.

62. Defendants deny Paragraph 62.

63. Defendants deny Paragraph 63.

64. Defendants deny Paragraph 64.

V. CLAIMS FOR RELIEF
FIRST CLAIM FOR RELIEF: FAIR LABOR STANDARDS ACT

65. Defendants restate and re-allege their answer to Paragraphs 1-64 as though fully
set forth herein.

66. Defendants deny Paragraph 66.

67. Defendants deny Paragraph 67.

68. Defendants deny Paragraph 68.

DEFENDANTS’ ANSWER TO PLAlNTlFF’S. COMPLAINT, COUNTERCLAIM AND
DEMAND FOR JURY TRlAL - 9

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 10 of 19

69. Defendants deny Paragraph 69. Defendants specifically deny that Plaintiff worked
twelve hours per day, 365/ 3 66 days per year or that Plaintiff is entitled to minimum wage under
the FLSA. Defendants further aver that Plaintiff is attempting to recover alleged damages not
lawfully permitted by the relevant statute of limitations and that Plaintiff has inapplicably
attempted to exceed the statute of limitations by six years.

SECOND CLAIM FOR RELIEF: MIGRANT AND SEASONAL
AGRICULTURAL WORKER PROTECTION ACT

70. Defendants restate and re-allege their answers to Paragraphs 1-69 as though fully
set forth herein.

71. Defendants deny Paragraph 71 and all subparts therein.

72. Defendants deny Plaintiff is entitled to any recovery against Defendants

73. Defendants deny Paragraph 73.

THIRD CLAIM FOR RELIEF: BREACH OF CONTRACT

74. Defendants restate and re-allege their answers to Paragraphs 1-73 as though fully
set forth herein.

75. Defendants deny Paragraph 75.

76. Defendants deny Paragraph 76.

77. Defendants deny Paragraph 77.

78. Defendants deny Paragraph 78 and further allege that Plaintiff is attempting to
recover alleged damages not lawfully permitted by the relevant statute of limitations

FOURTH CLAIM FOR RELIEF: IDAHO CLAIMS FOR WAGES LAW

79. Defendants restate and re-allege their answers to Paragraphs 1-78 as though fully

set forth herein.

DEF.ENDANTS’ ANSH."ER TO PLAINTIFF’S COMPLAINT, COUNTERCLAIM AND
DEMAND FOR JURY TRIAL - 10

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 11 of 19

80. Defendants deny Paragraph 80.

81. Defendants deny Paragraph 81.

82. Defendants deny Paragraph 82. Defendants specifically deny that Plaintiff worked
12 hours per day every day since January l, 2009. Defendants further aver that Defendants are
exempt from minimum wage laws and that Plaintiff is attempting to recover alleged damages
not lawfully permitted by the relevant statute of limitations

83. Defendants deny Paragraph 83. Defendants specifically deny that Plaintiff worked
twelve hours per day, 365/3 66 days per year or that he is entitled minimum wage. Defendants
further aver that treble damages do not apply and that Plaintiff is attempting to recover alleged
damages not lawfully permitted by the relevant statute of limitations

FIFTH CLAlM FOR RELIEF: IDAHO MINIMUM WAGE LAW

84. Defendants restate and re-allege their answers to Paragraphs 1-83 as though fully
set forth herein.

85. Defendants deny Paragraph 85 and further aver that Plaintiff is attempting to
recover alleged damages not lawfully permitted by the relevant statute of limitations

86. Defendants deny Paragraph 86.

87. Defendants deny that Plaintiff worked twelve hours per day, 365/366 days per
year or that Plaintiff is entitled to recovery of any wages under the ldaho Code and further avers
that Plaintiff is attempting to recover alleged damages not lawfully permitted by the relevant

statute of limitations

~ DEFENDANTS?-./\NSWER TO PLAINTIFF’S COMPLAINT, COUNTERCLAIM AND __
DEMAND FOR JURY TRIAL - 11

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 12 of 19

SIXTH CLAIM FOR RELIEF: CONTRACT IMPLIED IN LAW/
UNJUST ENRICHMENT

88. Defendants restate and re-allege their Answers to Paragraphs 1-87 as though fully
set forth herein.

89. Defendants deny Paragraph 89.

90. Defendants deny Paragraph 90.

91. Defendants deny Paragraph 91 and further aver that during the relevant time
period Plaintiff “worked” nearly exclusively for himself by maintaining his own garden, which
was gifted to him by John Anchustegui Defendants further aver that Plaintiff was compensated
more than the full value of the labor he did perform for John Anchustegui

SEVENTH CLAIM FOR RELIEF: INTENTIONAL INFLICATION OF
EMOTIONAL DISTRESS

92. Defendants restate and re-alleged their answers to Paragraphs l through 91 as
through fully set forth herein.

93. Defendants deny Paragraph 93.

94. Defendants deny Paragraph 94 and further aver that John Anchustegui personally
provided or obtained transportation for Plaintiff to leave the ranch, that John Anchustegui was
on-call for Plaintiffs medical needs and that Plaintiff was provided all meals, which were
prepared by a private cook.

95. Defendants deny Paragraph 95.

96. Defendants deny Paragraph 96.

97. Defendants deny Paragraph 97.,

DEFENDANTS’ ANSWER TO PLAINTIFF?S COMPLAINT, COUNTERCLAIM AND
DEMAND FOR JURY TRIAL - 12

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 13 of 19

THIRD DEFENSE
Plaintiffs’ claims are barred by the applicable statute of limitations including without
limitation, 29 U.S.C. § 255 and ldaho Code § § 44-1508 & 45-614. By asserting this defense
Defendants do not waive the ability to set forth their statutory exemptions under the applicable
federal and state minimum wage statutes
FOURTH DEFENSE
The Complaint, and each purported cause of action contained therein, is barred because
Plaintiff was at all relevant times exempt from coverage under 29 U.S.C. § 213(6)(A).
FIFTH DEFENSE
The Complaint, and each purported cause of action contained therein, is barred because
Plaintiff was at all relevant times exempt from coverage under 29 U.S.C. § 213(6)(E).
SIXTH DEFENSE
The Complaint, and each purported cause of action contained therein, is barred because
Plaintiff was at all relevant times exempt from coverage under ldaho Code § 44-1504(6)(d).
SEVENTH DEFENSE
Plaintiff’s demand for equitable relief is improper because plaintiff has an adequate
remedy at law.
EIGHTH DEFENSE
Defendants fully performed each tenn of the agreement between them, if any, and

Plaintiff has received the full consideration agreed upon.

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT, COUNTERCLAll\/l AND
DEMAND FOR JURY TRIAL - 13

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 14 of 19

NINTH DEFENSE

Defendants’ alleged conduct was authorized by state and federal labor laws, including
without limitation, 29 U.S.C. § 29 U.S.C. § 201, et seq., 29 U.S.C. § 3101, et seq., ldalio Code §
45-601, et seq., and ldaho Code § 44-1501, et seq.

TENTH DEFENSE

Defendants undertook all alleged acts or omissions in good faith and in conformity with
the orders, rulings, regulations or interpretations from the Wage and Hour Division of the U.S.
Department of Labor.

ELEVENTH DEFENSE

Defendants acted in good faith and had reasonable grounds to believe it was not violating

any state or federal labor law.
TWELFTH DEFENSE

Defendants are entitled to a set-off for any amounts already paid to Plaintiff to which

Plaintiff was not entitled.
THIRTEENTH DEFENSE

Plaintiff’s personal cultivation of his private garden does not count as work and is not

compensable
FOURTEENTH DEFENSE

Plaintiff is comparatively responsible for the damages alleged in the Complaint pursuant

to ldaho Code § 6-801.
FIFTEENTH DEFENSE

Plaintiff did expressly or impliedly give consent to Defendants to place Plaintiff on a

semi-retired status pursuant to Plaintiff’ s request upon receiving Social Security benefits

DEFENDANTS’ ANSWER TQ,.~¢PLAINTIFF’S COMPLAINT, COUNTERCLAIM AND
DEMAND FOR JURY TRIAL - 14

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 15 of 19

SIXTEENTH DEFENSE
Plaintiff’s action is barred herein by reason of failure of consideration
SEVENTEENTH DEFENSE
Plaintiff has failed to take reasonable steps to mitigate the claimed or alleged damage.
EIGHTEENTH DEFENSE
Plaintiff’s action for breach of contract cannot be maintained because Plaintiffs attempt
to receive Social Security retirement benefits and full salary is barred by applicable federal law.
NINETEENTH DEFENSE
Plaintiff was guilty of laches and unreasonable delay in bringing this action and in
asserting any cause of action against Defendants and that such laches and unreasonable delay
were without good cause and substantially prejudiced Defendants
TWENTIETH DEFENSE
The alleged agreement set forth in the Complaint is void for want of consideration and/or
mutuality of obligation
TWENTY-FIRST DEFENSE
That some or all of the claims set forth in Plaintiff’s Complaint with regard to damages
have been the subject of payment by Defendants and to the extent payment has been received
and accepted by Plaintiff, which payment includes room and board, those items of damages have
been paid and recovery in the present lawsuit would result in unjust enrichment to Plaintiff
TWENTY-SECOND DEFENSE
The Complaint, and each and every alleged cause of action therein are barred, in Whole or

in part, by the doctrine of waiver.

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT, COUNTERCLAIM AND
DEMAND FOR JURY TRlAL - 15

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 16 of 19

TWENTY-THIRD DEFENSE
The Complaint, and each and every alleged cause of action therein are barred, in whole or
in part, because Plaintiff consented to the conduct about which he now complains
TWENTY-FOURTH DEFENSE
The request for declaratory and/or injunctive relief is barred with respect to any and all
alleged violations of the FLSA, the AWPA, the ldaho Minimum Wage Law or any other state or
federal law that have discontinued, ceased, and are not likely to recur.
TWENTY-FIFTH DEFENSE
Each purported cause of action in the Complaint, or some of the causes of action, are
barred, or recovery should be reduced pursuant to the doctrine of avoidable consequences
TWENTY-SIXTH DEFENSE
Defendants reserve the right to set forth additional defenses and claims that may arise in
the course of additional investigation and discovery.
DEFENDANTS’ COUNTERCLAIM
Defendant John Anchustegui hereby asserts the following Counterclaim against Plaintiff
Sabino Leibar.
PARTIES
l. Plaintiff Sabino Leibar resides in Canyon County in the State of Idaho.
2. Defendant John Anchustegui is an individual residing in Idaho, and the owner of
certain real property located in Bruno, ldaho.
FACTS CONCERNING BREACH OF BAILMENT AGREEMENT
3. At various times during the years 2015, 2016 and 2017, Plaintiff and John
Anchustegui entered into a bailment agreement whereby Plaintiff could have the use of certain

DEFENDANTS’ ANSWER CE`»O PLAINTIFF’S COMPLAINT, COUNTERCLAIM AND
DEMAND FOR JURY TRIAL - 16

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 17 of 19

farming equipment and vehicles owned by John Anchustegui, including a Massey Ferguson
Tractor, a tractor loader, a bail loader, a manure spreader and three camp wagons (hereinafter
“the Equipment”).

4. The parties agreed that Plaintiff could use the Equipment on land maintained by
Plaintiff for Plaintiffs personal use and that Plaintiff would redeliver the Equipment to John
Anchustegui in the same condition in which it was delivered.

5. The Equipment was delivered to Plaintiff for the agreed upon purpose in good,
operable condition

6. Plaintiff used the Equipment in a reckless and negligent manner, thereby causing
significant damage to the all the Equipment.

7. The Equipment was not redelivered to John Anchustegui in the same condition as
when it was delivered to Plaintiff but was redelivered with significant damage caused by
Plaintiffs reckless and negligent conduct.

8. Plaintiff had a duty to exercise reasonable care to return the Equipment in the
same condition it was in when delivered

9. Plaintiff breached his duty to John Anchustegui by recklessly and negligently
using the Equipment and causing significant damage

10. The amount of damage caused by Plaintiff exceeds $30,000.

11. Plaintiffs breach of the agreement is the direct and proximate cause of damages
suffered by John Anchustegui in an amount to be determined at trial.

WHEREFORE, based on the foregoing, Defendants respectfully request that this Court:

1. Enter judgment for John Anchustegui on its count for breach of the.Bailment

Agreement;

DEFENDAI\LTS’ ANSWER TO PLAINTIFF’S COMPLAINT, COUNTERCLAIM AND
DEMAND FOR JURY TRIAL - 17

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 18 of 19

2. Dismiss with prejudice Plaintiff s Complaint and that Plaintiff takes nothing
thereby;

3. Award Defendants their damages, legal fees and costs arising out of this matter;

4. Award such other and further relief as this Court may deem just and proper under

the circumstances
JURY DEMAND
Defendant hereby requests a trial by jury.
DATED this 15th day ofNovember, 2017

ANDERSON, JULIAN & HULL LLP

By \<[§*~jF@-M\'

Brian K. Julian, Of file Firm
Attorneys for Defendants John Anchustegui
and lane Anchustegui

DEFENDANTS.’ ANSWER TO PLAINTIFF’S COMPLAINT, COUNTERCLAIM AND
DEMAND FOR JURY TRIAL - 18

Case 1:17-CV-OO415-BLW Document 14 Filed 11/15/17 Page 19 of 19

CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on this 15th day of November, 2017, 1 served a true and
correct copy of the foregoing DEFENDANTS’ ANSWER TO PLAINTIFF’S CGMPLAINT,
COUNTERCLAIM AND DEMAND FOR JURY TRIAL by delivering the same to each of
the following attorneys of record, by the method indicated below, addressed as follows:

Erik S. Johnson [:j U.S. Mail, postage prepaid
ldaho Legal Aid Services, lnc. [:[ Hand-Delivered

1104 Blaine Street [:I Ovemight Mail

Caidweii, in 83605 [:} Facsimiie

T; (208) 454-2591, Ext. 1404 [] E-Maii

F: (208) 454-2593 }X( ECF

E: erikjohnson@idaholegalaid.org

Attorneysfor Plaintiij

Howard A. Belodoff m U.S. Mail, postage prepaid
.lennifer Ann Giuttari I:] Hand-Delivered

Idaho Legal Aid Services, lnc. l___l Ovemight Mail

1447 S. Tyrell Lane l:l Facsimile

Boise, ID 83706 m E-Mail

T: (208) 336-8980, Ext. 1106 and 1506 }'A ECF

F: (208) 342-2561

E: howardbelodoff@idaholegalaid.org
jennifergiuttari@idaholegalaid.org

Attorneysfor Plaintiij

§§J@VN

Brian K. Julian

DEFENDANTS’ ANSWER TO-BLAINTIFF’S COMPLAINT, COUNTERCLAIM AND
DEMAND FOR JURY TRIAL - 19

